Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 1
                                    of 21




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

        Plaintiff,

  v.

  MICHAEL J. LINDELL,
  FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants.


                                  EXHIBIT – 4
Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 2
                                    of 21



                                                                  Page 1

  1                      IN THE UNITED STATES DISTRICT COURT

  2                        FOR THE DISTRICT OF COLORADO

  3

  4      ERIC COOMER, PH.D.,

  5                        Plaintiff,

  6             vs.                       Case No. 1:22-cv-01129-NYW-SKC

  7      MICHAEL J. LINDELL, FRANKSPEECH

  8      LLC, AND MY PILLOW, INC.,

  9                        Defendants.

 10      ________________________________

 11

 12

 13             The Videotape Deposition of J. ALEX HALDERMAN, Ph.D.

 14             Taken at 2723 South State Street, Suite 150

 15             Ann Arbor, Michigan

 16             Commencing at 9:02 a.m.

 17             Wednesday, August 16, 2023

 18             Stenographically reported by:

 19             Joanne Marie Bugg, CSR-2592, RPR, RMR, CRR

 20

 21

 22

 23

 24

 25      Job No. 6022065

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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 3
                                    of 21


                                                                       Page 10                                                                    Page 12
       1 A. The legitimacy of our system -- our democracy is                      1               MR. CAIN: To explain his answer.
       2     founded on the notion of elected government. I would                 2               MS. WRIGHT: I'm entitled to conduct my
       3     agree with that.                                                     3     deposition. I'm doing it. If you want to follow up on
       4 Q. Okay. Would you agree that faith in American democracy                4     it at the end, he can -- he can explain. But at this
       5     rests on the integrity of our elections?                             5     time --
       6 A. I do.                                                                 6               MR. CAIN: If he needs to clarify --
       7 Q. Okay. You also agree that voter fraud is as old as the                7     counsel, if he needs to explain his answer so that it's
       8     voting process itself?                                               8     not misconstrued, he is entitled to do that. He's
       9 A. Indeed it is.                                                         9     entitled to say his justification or reasoning.
      10 Q. That's why like energy infrastructure, and our                       10               MS. WRIGHT: I will listen to it this time
      11     financial services infrastructure, election systems are             11     to find out if that's what's going on, or if we're just
      12     deemed to be critical infrastructure in the United                  12     doing advocacy.
      13     States, correct?                                                    13 A. Can you repeat your question?
      14 A. Well, I'm not sure if it's solely for that reason, but               14               MS. WRIGHT: Can you read back the question,
      15     it's because elections are really the foundation of our             15     please.
      16     democracy. They're truly important to everything that               16               (Requested portion of the record was read
      17     we do as a society.                                                 17               back 9:11 a.m.)
      18 Q. So no matter what candidate they vote for, every                     18         "QUESTION: Do you agree with the proposition
      19     American should be concerned about gaps in the evidence             19     that no matter what candidate they vote for, every
      20     to support the reported outcome?                                    20     American should be concerned about gaps in the evidence
      21 A. We should be concerned about gaps in the evidence, what              21     to support the reported outcome?"
      22     do you mean?                                                        22 A. Right. So the reason that it's so important that we
      23 Q. I'm actually quoting from you. So your words were no                 23     have evidence to support -- the reason that it's so
      24     matter what the candidate they vote -- no matter what               24     important that Americans need to be concerned about
      25     candidate they vote for, every American should be                   25     gaps in the reported outcome is that everyone needs, or

                                                                       Page 11                                                                    Page 13
      1      concerned about gaps in the evidence to support the                  1   should be entitled to elections that are both
      2      reported outcome. Do you recall saying that in your                  2   trustworthy and trusted. But the foundation of trust in
      3      Barron's article in 2021?                                            3   elections comes from people being able to know that
      4    A. Barron's article in 2021? I don't recall saying that,               4   there is affirmative evidence that the results are
      5      but I believe you if you say that I wrote that.                      5   correct.
      6    Q. Do you agree with the proposition that no matter what               6 BY MS. WRIGHT:
      7      candidate they vote for, every American should be                    7 Q. Okay. So, in other words, elections also have to be
      8      concerned about gaps in the evidence to support the                  8   able to prove to a skeptical public that the result was
      9      reported outcome?                                                    9   really accurate?
     10    A. I agree with that. And the reason that I agree with                10 A. Yes. I wrote that, and I agree with that.
     11      that --                                                             11 Q. Okay. So one of the criteria, or I think you've called
     12    Q. No. That's all I need. Thank you.                                  12   it also desirable properties for voting systems is that
     13    A. The reason that I --                                               13   voters have a means to convince themselves that the
     14    Q. I don't need anything further. I'm just asking if you              14   outcome's correct without having to blindly trust the
     15      agree with it. I don't need any --                                  15   technology or election authorities, correct?
     16    A. But the reason I don't --                                          16 A. Sorry. Can you repeat that?
     17    Q. I don't -- I don't need that. Doctor, we're going to be            17 Q. Sure. One of the criteria for voting systems is that
     18      here all day. And so if we could just --                            18   voters have means to convince themselves that the
     19    A. But because.                                                       19   outcome is correct without having to blindly trust the
     20    Q. -- respond to my questions rather than trying to                   20   technology or the election authorities?
     21      advocate for your client --                                         21 A. Yes.
     22    A. But the reason that I agree with that --                           22 Q. Okay. That the way we conduct elections does not
     23    Q. No.                                                                23   routinely produce public evidence that outcomes are
     24              MR. CAIN: He's entitled to --                               24   correct, wouldn't you agree?
     25              MS. WRIGHT: No, he's not.                                   25 A. Yes, that's true in general. I'm not sure that I follow

                                                                                                                                  4 (Pages 10 - 13)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 4
                                    of 21


                                                             Page 14                                                         Page 16
      1     the connection to Mr. Lindell's statements about Dr.        1           MS. WRIGHT: Okay. I'm going to move to
      2     Coomer, or to Mr. Lindell's -- well, to the hoax that       2   strike everything after the response to my question.
      3     the perpetrated.                                            3   And I'm going to start moving to strike unless you're
      4   Q. Perhaps it will be evident to you later. An evidence,      4   going to assure me that this is not going to be his
      5     an evidence-based election should have, you know, I'll      5   trial testimony?
      6     read a list to you. First of all, hand marked paper         6           MR. CAIN: Well, I'm not making an agreement
      7     ballots, correct?                                           7   with you. What I will say is Joanne is trying to take
      8   A. Yes.                                                       8   down our testimony. You just interrupted me while I was
      9   Q. Election officials that protect the paper ballots to       9   objecting, and you've been interrupting the witness. So
     10     ensure that no ballot has been added, removed or           10   if we can slow down, and let him finish, I think,
     11     altered, correct?                                          11   number one, that would be appropriate.
     12   A. Yes.                                                      12           MS. WRIGHT: And if you could instruct your
     13   Q. Election officials that reconcile and verify the number   13   witness to answer my yes or no questions with a yes or
     14     of ballots, and the number of voters, correct?             14   no answer, I would appreciate that.
     15   A. Yes. These are all, all general features that are         15           MR. CAIN: Again, he's entitled to explain
     16     important in election integrity.                           16   his answer, especially --
     17   Q. And another would be election officials that check        17           MS. WRIGHT: He wouldn't be entitled in
     18     whether the paper trail of ballots is trustworthy using    18   trial, and so he's not entitled here.
     19     a transparent compliance audit?                            19           MR. CAIN: Especially if he believes that
     20   A. Yes. These are all widely accepted criteria. Now, I       20   any answer that he would give would be misleading to
     21     still fail to see the connection.                          21   the jury. That's our position.
     22   Q. And let me -- let's finish and get them all. Let's get    22 BY MS. WRIGHT:
     23     them all. Also, election officials that count the          23 Q. Professor Halderman, risk-limiting audits are the most
     24     votes, correct?                                            24   rigorous type of postelection audits, correct?
     25   A. Yes. Someone needs to count the votes.                    25 A. Or the most rigorous type, is that what you said? I'm
                                                             Page 15                                                         Page 17
      1 Q. And election officials that check the results with a         1     sorry.
      2   risk-limiting audit that inspects the original hand           2   Q. Yes, I did.
      3   marked ballots, not images or copies. You agree with          3   A. Yes, risk-limiting audits, although there are another,
      4   that?                                                         4     a number of other criteria that are part of that rigor
      5 A. Yes, yes. But I still fail to see the relevance to Mr.       5     in addition to meeting a risk limit.
      6   Lindell's theory.                                             6   Q. But risk-limiting audits are the most rigorous type of
      7 Q. Okay.                                                        7     postelection audits, correct?
      8 A. Which is completely baseless.                                8   A. Well, that's a bit of a simplification.
      9 Q. Each of these steps is essential, correct?                   9   Q. Okay. But those were your words. You told the U.S.
     10 A. Yes, I would agree with that. But, again, I fail to         10     Select Committee on Intelligence in June 2017 that only
     11   see the relevance. None of that is connected to              11     two states, Colorado and New Mexico, currently conduct
     12   whether Eric --                                              12     audits that are robust enough to reliably detect
     13 Q. Well, I suspect that you may --                             13     cyberattacks, correct?
     14 A. -- Coomer personally rigged the presidential election.      14   A. That was true in 2016. It's no longer true today.
     15 Q. I suspect you may miss the relevance of most of today       15   Q. Because there's a couple more, right?
     16   then.                                                        16   A. Well, there've been a number of different evolutions in
     17          MR. CAIN: Object to sidebar.                          17     auditing. There's some states have added RLAs during
     18          MS. WRIGHT: Pardon?                                   18     the 2020 presidential election in particular.
     19          MR. CAIN: Object to the --                            19   Q. And we'll get to that.
     20          MS. WRIGHT: And I object to the                       20   A. Large number of states --
     21   volunteering of testimony.                                   21   Q. You'll get a chance to answer that.
     22 BY MS. WRIGHT:                                                 22   A. -- conducted postelection audits of various forms. If
     23 Q. And are you, doctor, are you testifying at trial? Do        23     you're asking how many states fully meet the criteria
     24   you plan to appear at trial and testify?                     24     that scientists set out, the number was lower.
     25 A. I have offered to be available at trial.                    25   Q. Four states, correct, as of the 2020 presidential

                                                                                                               5 (Pages 14 - 17)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 5
                                    of 21


                                                                       Page 126                                                         Page 128
      1      you're Professor Alex Halderman?                         1                  him very quickly that this is -- this doesn't hold
      2    A. I think people are welcomed to examine the evidence for 2                  water. That this is likely to be false, and even more
      3      themselves. But if they're going to claim that there     3                  likely to be a hoax.
      4      was fraud, if they're going to claim that there was      4                Q. How do you identify -- what are the criteria for
      5      fraud, they should be extremely skeptical of evidence    5                  someone being able, someone that understands computer
      6      purporting to show that.                                 6                  security well, how would the average citizen identify
      7    Q. So there are people still believe it today?             7                  those people?
      8    A. I think a lot of people have been misled, yes.          8                A. Oh, like you -- like you would almost any other expert,
      9    Q. Yes. That's true, correct, because a lot of people      9                  like you would find an expert in any other technical
     10      don't have your expertise, correct?                     10                  subject. You can look at what someone -- at someone's,
     11    A. I think people can review the evidence that is         11                  someone's CV, right? You can look at the past -- you
     12      available out there at this point for themselves and    12                  can look -- you can look at what they've been -- you
     13      make a determination. But it doesn't alter the fact     13                  can look at their training. You can look at whether
     14      that it's fundamentally an extraordinary claim to say   14                  they've previously been identified as someone who is
     15      that the 2020 election was altered by hacking.          15                  credible, or someone who's been engaged in fraud. Those
     16      Especially, I might add, by the kind of hack postulated 16                  are some examples. You can look at whether they have
     17      by Mike Lindell.                                        17                  performed relevant work at this particular intersection
     18    Q. But all those people that still believe today that the 18                  is one way do do it, security and elections.
     19      2020 election was hacked, believe something that is     19                Q. What constitutes relevant work?
     20      inherently implausible, correct?                        20                A. Well, for instance, one, one example of relevant work
     21    A. Yes. It's inherently implausible that the election --  21                  would be peer reviewed scientific publication. Work
     22      well, so it's certainly inherently implausible that the 22                  for statement government in an election security
     23      election was hacked in the way that -- the election     23                  capacity. And those are just two examples. But those
     24      result was altered in the way that Mike Lindell claims. 24                  would be good indicators of relevant expertise.
     25    Q. How does Mike Lindell claim the election result was 25                   Q. And only those people have the ability to understand
                                                                       Page 127                                                         Page 129
       1     altered?                                                              1     election cybersecurity?
       2 A. He has articulated a theory that involves hacking over                 2   A. Look, if I am going to -- if I'm presented with this
       3     the internet from China around the time of the 2020                   3     data that is purported to be proof that the election
       4     election. And his data is -- his data suggests affected               4     result was stolen, such an extraordinary claim, I'm
       5     results in jurisdictions nationwide, or almost                        5     going to want to get people to vet that who are
       6     nationwide.                                                           6     skeptical of that claim, who are going to be able to
       7 Q. Where have you seen that claim?                                        7     identify holes in that claim, and see whether it really
       8 A. Well, I've reviewed the data that he purported was                     8     truly holds water or not. So I'm going to be able --
       9     definitive proof.                                                     9     I'm going to want to look for people who are going to
      10 Q. Okay. First of all, where have you seen the claim that                10     be able to tell me if -- if it holds water, and is
      11     you just described that he has made?                                 11     likely to withstand scrutiny, because it probably isn't
      12 A. I've watched his films.                                               12     true.
      13 Q. Which, which films have you watched?                                  13   Q. What efforts did you make to contact Mike Lindell to
      14 A. What are they called Absolute 9-0, Absolute, Absolute                 14     provide him the benefit of your expertise?
      15     Truth; is that correct?                                              15   A. I don't generally contact people, but I'm easy to find
      16            MR. CAIN: Proof.                                              16     if someone wants to reach out.
      17 A. Proof. Thank you. Absolute Proof. Those -- I've watched               17   Q. If someone's making a mistake, you don't ever take a
      18     his films. I've reviewed the data that he provided and               18     affirmative action to make sure that inaccurate
      19     purported to be the definitive proof of this -- of his               19     information isn't being spread?
      20     claims. It's all a hoax. I'm sorry.                                  20   A. Well, I have my sphere of responsibility, I would
      21 BY MS. WRIGHT:                                                           21     suppose, but I didn't contact Mr. Lindell myself. But
      22 Q. And Mike knows it's a hoax?                                           22     I know that after his documentaries appeared, a lot of
      23 A. He should know it's a hoax. If he asked anyone to take                23     people wrote publically about what he had -- what he
      24     even -- anyone who understands computer security well                24     was saying, including fact checkers, including
      25     to review the purported evidence, they could have told               25     reporters. They quoted experts who are extremely

                                                                                                                      33 (Pages 126 - 129)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 6
                                    of 21


                                                                       Page 130                                                        Page 132
       1     experienced in this field, who pointed out that factual               1     who is dedicating millions of dollars, and a large
       2     issues with these claims, right, things that a                        2     fraction of his time, as Mr. Lindell did, to promoting
       3     responsible party would have been -- gone back and                    3     claims that others are saying are false. There's no way
       4     inquired about, would have gone and figured out, oh,                  4     you can be intellectually honest if you don't agree --
       5     wait a minute. People are saying this is impossible, or               5     if you don't engage with criticism at that point. But
       6     can't possibly hold water for this or that reason. Is                 6     that's -- the man on the street, perhaps the situation
       7     that true? And then perhaps amended or retracted those                7     is different.
       8     theories about a hack of the election on that basis.                  8   Q. And you're saying that the fact that Mr. Lindell has
       9     But I don't -- that is not what Mr. Lindell did. He                   9     devoted millions of dollars to evaluating this evidence
      10     double downed on it. He claimed to have this absolute                10     demonstrates that he is out there trying to perpetrate
      11     proof, right? He claimed to have these PCAPs that                    11     a hoax?
      12     would absolutely prove what happened, and the PCAPs                  12   A. That he's dedicated millions of dollars to promoting
      13     themselves are a hoax.                                               13     it, and it is a hoax. The data is a hoax.
      14 Q. What do you know about what efforts Mr. Lindell went to               14   Q. What's your evidence that Mr. Lindell has spent
      15     verify his evidence of his -- supporting his                         15     millions of dollars promoting what you called a hoax?
      16     statements?                                                          16   A. The data is a hoax. He's testified that he -- he's
      17 A. I've read his deposition testimony. That's the extent                 17     testified as to the expenditures that he's made in
      18     of what I know of them.                                              18     setting up his Lindell TV, and his FrankSpeech website,
      19 Q. When did you read that?                                               19     which are essentially centered around his election
      20 A. I read it -- I think I've most recently -- I reviewed                 20     related claims.
      21     it prior to -- prior to this deposition most recently.               21   Q. How much has he spent on that?
      22 Q. Did you review it before you wrote this report?                       22   A. I don't recall the totals, but the numbers that he
      23 A. At least portions of it.                                              23     talks about in his deposition begin with millions.
      24 Q. When did you write this report?                                       24   Q. How much has he spent to gather evidence of the attack
      25 A. Well, perhaps not. No, I think I did review portions of               25     that he discusses.
                                                                       Page 131                                                        Page 133
      1      it before the report. I could be wrong about that. If I               1   A. I don't recall how much he has claimed to have spent on
      2      reviewed it, I cite. And if I didn't, or rather if I                  2     gathering "evidence." But the evidence he's presenting
      3      cite, I reviewed it.                                                  3     is fraudulent, and people have told him that credibly
      4    Q. Your report's dated the 5th day of May 2023. Do you                  4     for months and months before his cyber symposium.
      5      know if you had access to his expert report before you                5   Q. Name the specific people that have told him that
      6      wrote this report?                                                    6     credibly?
      7    A. If I cite it in the report, then I did, but I don't                  7   A. You'd look at -- look at my, my expert report cites
      8      recall for sure.                                                      8     these attempts to -- cites various press reports
      9    Q. So you were saying that what journalists write, people               9     debunking the claims in his films. Many of those
     10      are supposed to accept as true, especially if they're                10     reports are citing established election security
     11      saying that they're debunking something?                             11     experts who were giving reasons. You're not even
     12    A. I think that it -- I think that if there were experts               12     relying on their expertise. They're saying this is
     13      in the press saying that some theory you have is not                 13     wrong because, or this is impossible because.
     14      true for certain reasons, then if you are at all                     14   Q. And you're saying those are in your expert report?
     15      intellectually honest, you will want to be able to                   15   A. They're cited in my expert report if you can find the
     16      respond to those and investigate those critiques.                    16     footnote. And I'm not sure of the section. And I don't
     17    Q. So you're saying that the people that are that                      17     have it in front of me.
     18      currently believe that the election was hacked and                   18   Q. Here's a nice clean one for you.
     19      stolen are not intellectually honest?                                19   A. Thank you very much.
     20    A. I think that people need to engage with these kinds of              20             MR. CAIN: Let's mark it if he's going to
     21      criticisms, of course, I do.                                         21     review it, or at least testify about it.
     22    Q. And they're not intellectually honest if they don't?                22             MS. WRIGHT: I just want him to -- I'm just
     23    A. I think there's a difference between -- perhaps there's             23     letting him refresh his recollection.
     24      a difference between the voter on the street who's only              24             MR. CAIN: Okay. Well, I need to take a
     25      paying partial attention to these issues, and someone                25     break then.

                                                                                                                     34 (Pages 130 - 133)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 7
                                    of 21


                                                                       Page 146                                                                   Page 148
       1     expert to notice certain problems. Other problems                     1     inherently implausible theory.
       2     should have been obvious to anyone even with a -- with                2 Q. So they would have to know they're promoting an
       3     a much lesser degree of expertise. But in terms of the                3     inherently implausible theory to have doubt?
       4     obstacles that I write about here, and I cite a variety               4 A. The theory is inherently implausible, so that's
       5     of them in these paragraphs that follow that footnote,                5     inherent to the theory.
       6     these are problems that you don't need to be an expert                6 Q. What do you mean when you say inherently implausible?
       7     necessarily in order to assess.                                       7 A. I mean it's just unlikely to be true without having
       8 Q. So anybody that viewed Michael Lindell's videos should                 8     even researched any of the specifics about it, just
       9     have instantly recognized they were unreliable?                       9     based on the general claim and its nature. And I think
      10 A. I don't think I would go that far. But I would say that               10     it's something that can be seen as implausible to --
      11     someone who viewed Mike Lindell's videos, and had the                11     even to any nonexpert. Because, again, it would be
      12     benefit of having these problems pointed out to them,                12     extraordinary. It would be world historical. This has
      13     would have had immediately a strong basis for                        13     never happened before, right. And claiming an attack on
      14     skepticism. And if you were promoting the videos, as                 14     our country, etcetera, etcetera, why was Lindell
      15     Lindell himself was, you would now have a strong burden              15     getting such, such public interest? Because it was an
      16     to overcome in order to -- in order to stand by them                 16     extraordinary claim he was making that was different
      17     while maintaining any intellectual integrity.                        17     from the claims that others were making.
      18 Q. Did Mike Lindell see the references you cite in                       18 Q. Was it different from the claims others were making?
      19     footnote 16?                                                         19 A. It was different from the claims that officials were
      20 A. The criticism in debunking of his videos, I recall at                 20     making. It was different from the claims that the Trump
      21     the time was all over the news. I know that journalists              21     administration's justice department and DHS were
      22     later confronted him, or confronted him at times with                22     making. That the EOC was making. Then the 59 experts
      23     specific critiques. I don't know about the specific                  23     who wrote that letter were making.
      24     articles I cite here if he saw them. But they were                   24 Q. Was it different from statements Trump was making? And
      25     representatives of a whole class of very prominent                   25     he was president, I believe, at the time, correct, so

                                                                       Page 147                                                                   Page 149
       1     critique of Lindell's claims, and they were occurring                 1     he was a government official?
       2     contemporaneously.                                                    2   A. Lindell's theories were even more specific than the
       3 Q. How did you choose theses examples and not the others?                 3     statements that Trump was making. So I think it was
       4     Were these the best spells of critiques?                              4     even compared to Donald Trump who made certain false
       5 A. I wouldn't say that they were the best examples, but                   5     claims that were of a general nature.
       6     they were ones that I thought were cogent that appeared               6   Q. Actually, Donald Trump made a very specific false
       7     when I Googled for critiques of his videos in May of                  7     claim, didn't he? In fact, in your Twitter feed, you
       8     2023.                                                                 8     posted as not even being true, the one where he said
       9 Q. That's when you first Googled for critiques of his                     9     85/25, or whatever the ratio was, of votes that were
      10     videos was May 2023?                                                 10     flipped.
      11 A. I know I saw critiques of his videos while they were                  11   A. He made various claims.
      12     coming out, because it was all over the news. But                    12   Q. Early on --
      13     these are the ones that I found when I was preparing                 13   A. Excuse me.
      14     the expert report.                                                   14   Q. And you posted that on your Twitter feed, correct, and
      15 Q. When you say it was all over the news, specifically,                  15     you said this isn't even true?
      16     what news sources were reporting these debunking?                    16   A. I don't -- I don't recall that specific Tweet, but I
      17 A. Well, the Washington Post for one.                                    17     know the president made a variety of claims that were
      18 Q. Okay. That's in footnote 16. What else?                               18     untrue. But he didn't have the kind of overarching
      19 A. I don't recall exactly, because this was back in --                   19     theory that Mike Lindell came up with that is based on
      20     this was now three years ago. But I do recall very                   20     this hoax.
      21     strongly that it was all over the news.                              21   Q. How do you know he didn't? Did you talk to President
      22 Q. And, again, if things are reported in the news, then                  22     Trump about what his theory was?
      23     it's reliable, correct?                                              23   A. Based on his public claims.
      24 A. Not necessarily. But it certainly should give someone                 24   Q. In Tweets, on his public Tweets basically?
      25     reason for doubt if one is promoting -- is promoting an              25   A. In the media, the things that he said publically.

                                                                                                                            38 (Pages 146 - 149)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 8
                                    of 21


                                                                        Page 150                                                            Page 152
       1 Q. Okay. And you don't know what kind of briefing he was                   1     journalistic outlet was reliable?
       2     getting from others in the administration other than                   2   A. Without making a general assessment about their
       3     the couple that you cite, Bill Barr and Chris Krebs?                   3     reliability, I'm making an assessment about the
       4 A. No. Of course I don't know what private briefings he                    4     reliability of the -- of their criticism of their
       5     may have gotten.                                                       5     critique of Lindell's claims that I'm presenting here,
       6 Q. None that was true, correct?                                            6     which I've read and found to be credible.
       7 A. None of that bears any relevance on the fact that the                   7   Q. If it's not a source that's generally reliable, why
       8     evidence that Mike Lindell ended up presenting is a                    8     would you expect Mike Lindell to find their critique
       9     relatively crude hoax. It's just -- it's just fake.                    9     reliable?
      10 Q. Nevertheless, contrary to what you said before, there                  10   A. I'm not saying that I that -- I'm not testifying that
      11     were high ranking government officials that came out                  11     they're generally unreliable.
      12     and said that Dominion has stolen votes that changed                  12   Q. But you can't testify that they are generally reliable
      13     the election, correct?                                                13     either?
      14 A. Can you give me an example?                                            14   A. If they're -- if their critique of his claims that he's
      15 Q. Yes. President Trump.                                                  15     promoting is logically cogent, then it's something
      16 A. Oh, yes.                                                               16     that's incumbent on him to address. Like if they're
      17 Q. How about some senators, Louie Gohmert?                                17     citing reliable experts. If they're citing logical
      18 A. I don't recall a statement by Louie Gohmert.                           18     fallacies. If they're citing fundamental obstacles,
      19 Q. Okay. Do you recall any statements by any other                        19     which all of these collectively do that, then these are
      20     senators at the time that were supporting Trump's                     20     huge red flags.
      21     theories?                                                             21   Q. And, again, it's you that identifies who is a reliable
      22 A. I don't recall any statement from a high ranking                       22     expert, correct?
      23     government official supporting Mr. Lindell's theories.                23   A. No. It's not me. You don't have to ask me who is a
      24 Q. That wasn't my question. Move to strike. Do you recall                 24     reliable expert. There are all sorts of indicators of
      25     any other high ranking officials that were supporting                 25     reliability that people use every day in determining
                                                                        Page 151                                                            Page 153
      1      Mr. Trump's theories?                                    1   whether sources are reliable. This is just, you know,
      2    A. Not that I can point you to as I sit here today.        2   basic civil literacy.
      3    Q. But you can't also rule out as you sit here today that  3 Q. Okay. And so people that have basic civil literacy
      4      there were other senators and people that purportedly    4   would have recognized instantly that Mike's statements
      5      had greater access to knowledge than the rest of us      5   were not reliable, correct?
      6      that made these theories, or made these statements       6 A. That these statements -- I think if you read these
      7      about the election being stolen?                         7   stories, you can see that they're raising important
      8    A. There were people who had greater access to knowledge 8     objections. They're raising objections that demand a
      9      in general than that I cite in this report is            9   response. They're raising objections that should be a
     10      authorities who -- who dismissed the claims of fraud.   10   red flag about the veracity of Lindell's claims. Now,
     11    Q. Who is Maarten Schenk?                                 11   the man on the street, I don't know if it's going to be
     12    A. Could you point me to it, please.                      12   enough to change, change their mind, or just confusion.
     13    Q. Yes. We were talking now about footnote note 21. That 13    But if I was promoting those claims, I would -- and I
     14      was another paragraph or footnote that you cited that's 14   was trying to be intellectually honest, I'd know
     15      where you --                                            15   there's stuff here I have to check out. I have to
     16    A. Oh, I see.                                             16   respond to. And I have to -- and that what I'm
     17    Q. -- set forth all the people that were debunking Mr.    17   promoting is likely to be false.
     18      Lindell.                                                18 Q. I want to go back to your report where you identify all
     19    A. This is the -- the author of this piece that appeared  19   the ways that you purportedly alerted Mr. Lindell that
     20      on Lead Stories on June 3rd, 2021, presumably a fact    20   his claims were false. In your expert report you
     21      checker. I don't know who he is.                        21   identify your appearance on Fox News on November 13th
     22    Q. And, again, what is Lead Stories?                      22   and 14th, 2020 where you stated there's absolutely no
     23    A. It's some kind of journalistic outlet. I don't know    23   evidence, none, that Dominion voting machines changed
     24      sitting here today all that much, or I can't recall.    24   any votes in this election. And we've already talked
     25    Q. What did you do to assess whether Lead Stories as a    25   about it. As of that time, you hadn't done any

                                                                                                                         39 (Pages 150 - 153)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 9
                                    of 21


                                                                       Page 154                                                                    Page 156
      1      forensic analysis, correct, or did we, of a Dominion      1 Q. But it would be pure speculation for you to say that
      2      voting machine involved in the election?                  2   people did find out about what was published in that?
      3    A. I think I've answered this question several times. And, 3 A. People did.
      4      no, did I do any -- I didn't do any original forensic     4 Q. In the New York Times?
      5      analysis, but the original forensic analysis would not    5 A. People did, in general.
      6      have been relevant to that question. Because what I       6 Q. But you don't know. You can't say whether it's 20 or
      7      was saying on Fox News was responding to these            7   50, or you don't know how many people read it, correct?
      8      absolutely crazy baseless theories, technically           8 A. I can't put a number on it. You'd have to ask the
      9      inarticulate theories, that people were circulating at    9   Times.
     10      the time about election fraud.                           10 Q. Okay. Now, in this article that may or may not have
     11    Q. What beyond just simply saying there's absolutely no 11      been seen by readers of the New York Times, you say, To
     12      evidence, none that Dominion voting machines changed 12       our collective knowledge, no credible evidence has been
     13      any votes in this election, what else did you say in     13   put forth that supports a conclusion that the 2020
     14      that story, in that interview with Fox News?             14   election outcome in any state has been altered through
     15    A. I haven't seen it in a long time. I don't recall.       15   technical compromise. You agree you said that?
     16    Q. And you've previously said that simple -- simply --     16 A. Yes.
     17      simple denials aren't enough to convince people,         17 Q. You agree that as of November 16th, 2020 there hadn't
     18      correct? And you've said they shouldn't be. We need      18   been any investigation that had been conducted
     19      evidence-based elections, not experts.                   19   regarding the vulnerable components of the election
     20    A. Oh, absolutely we need evidence-based elections. But at 20   system that would justify such reassuring claims?
     21      the same time, the need for evidence-based elections     21 A. So, once again, this is responding to concrete claims
     22      doesn't lend credence to every crazy theory and hoax     22   that are being made at the time that the election
     23      about a past election result. And that's what we have    23   result had been -- had been hacked.
     24      with Mike Lindell's theories. It's a hoax.               24 Q. What claims were being made as of November 16th, 2020
     25    Q. In 15, paragraphs 15 to 17 of your report you point to 25    that the election had been hacked?

                                                                       Page 155                                                                    Page 157
       1     your November 16th, 2020 open letter that you and 58                  1 A. Oh, my gosh. They were from the former President Trump
       2     other leading election security specialists called                    2     and others with a lot platforms that made a wide
       3     further attention to the implausibility of conspiracy                 3     variety of claims. I know at that point -- I believe at
       4     theories, such as those promoted by Mike Lindell. Now,                4     that point Oltmann was claiming already that, that Eric
       5     as I understand it in that -- in that open letter,                    5     Coomer had, had made these statements that Oltmann
       6     where was that open letter published?                                 6     claims he did. There was a sea of false claims that
       7 A. It was published in the New York -- I don't know if it                 7     were emerging at that time.
       8     was published in the New York Times, but the New York                 8 Q. What were the others?
       9     Times ran a story about it I believe on the front page                9 A. There, there -- the -- I don't think I can enumerate
      10     and link to it. Link to the open letter.                             10     them authoritatively from memory at this point, in
      11 Q. Any other news outlets that brought attention to the                  11     large part, because the claims at the time tended to be
      12     open letter?                                                         12     vague or technically inarticulate.
      13 A. I don't remember at this point.                                       13 Q. How do you know, if you can't remember what they were
      14 Q. Do you know if Mike Lindell subscribes to the New York                14     that they were vague or technically inarticulate?
      15     Times?                                                               15 A. You can remember things about other things without
      16 A. I don't know.                                                         16     remembering all of the details of the specific thing,
      17 Q. Do you know how many people in the United States                      17     can't you? That's generally, generally true.
      18     subscribe to the New York Times?                                     18 Q. Now, you said Oltmann made statements about Eric Coomer
      19 A. Not off the top of my head.                                           19     by November 16th of 2020. Had Mike Lindell said
      20 Q. I think you could safely acknowledge that there's                     20     anything about Eric Coomer by November 16th, 2020?
      21     probably millions, and millions, and millions of people              21 A. I don't know.
      22     that do not subscribe to the New York Times, correct?                22 Q. Did Mike Lindell know who Oltmann was by November 16th
      23 A. I could acknowledge that at the same time as I point                  23     of 2020?
      24     out that millions of people who don't subscribe to it                24 A. I don't know.
      25     still find out about things that are published in it.                25 Q. Do you know if Mike Lindell heard Oltmann say anything

                                                                                                                              40 (Pages 154 - 157)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 10
                                    of 21


                                                                      Page 158                                                                  Page 160
       1     about Eric Coomer as of November 16, 2020?                           1     making all these inherently implausible statements, so
       2 A. I don't know.                                                         2     I want to know what you know about these statements
       3 Q. What statements has Mike Lindell made about Eric Coomer               3     that you're criticizing?
       4     specifically?                                                        4 A. I don't -- I don't think I have the -- I don't think I
       5 A. Mike Lindell's called him a criminal. He's called him a               5     have the date here.
       6     traitor. He's broadcast Oltmann's claims. I'm not sure               6 Q. So you're saying that it's improper. What, what was the
       7     if I can tell you everything that Lindell has said                   7     context of Mike Lindell calling Eric Coomer a criminal?
       8     about him, but those are some examples.                              8 A. A criminal, and a traitor he called him at various
       9 Q. Why did Mike Lindell say that Eric Coomer was a                       9     points. What's the -- what's the --
      10     criminal?                                                           10 Q. In the context, what did he say more specifically
      11            MR. CAIN: Object to form.                                    11     besides just those two words?
      12 A. Presumably, and I would say the -- not presumably. But               12 A. In the context of this theory that Dominion has somehow
      13     the implication to someone who is hearing that                      13     been part and parcel to a Chinese attack that stalled
      14     statement, who's familiar with Oltmann's claims, for                14     the election result, this preposterous hoax that Mike
      15     instance, that Mike Lindell agrees or finds credible                15     Lindell is promoting.
      16     what Oltmann has claimed.                                           16 Q. So you're saying that even if he doesn't mention Kumar
      17 BY MS. WRIGHT:                                                          17     when he's talking about his views of election fraud,
      18 Q. Is it also possible that he was referring to other ways              18     that any statements he made about Dominion are
      19     in which Eric Coomer was a criminal?                                19     inherently about Coomer?
      20 A. It's possible, but I don't find that particularly                    20 A. No, because he did mention Coomer in the context of
      21     likely or compelling, since Eric Coomer his entire                  21     Dominion and election fraud.
      22     notoriety in this space has come from Oltmann injecting             22 Q. Okay. What did he say?
      23     him into this sea of conspiracy theories.                           23 A. I don't -- I don't have the date here in front of me.
      24 Q. Do you recall when you read Mike Lindell's testimony                 24     And he went on to promote through his symposium,
      25     that he said that he didn't know even who Eric Coomer               25     through his properties, Oltmann making further, further

                                                                      Page 159                                                                  Page 161
       1     was until he served him with a -- Mike Lindell with a                1   baseless claims about Coomer having personally rigged
       2     lawsuit?                                                             2   the election.
       3 A. I recall him saying that. I'm not sure if I find that                 3 Q. What evidence do you have that Mike Lindell knew that
       4     credible.                                                            4   Oltmann was going to speak at the cyber symposium?
       5 Q. Okay. So you're calling Mike Lindell a liar on that?                  5            MR. CAIN: Object to form.
       6 A. With apologies to Mike Lindell, Mike Lindell has been                 6 BY MS. WRIGHT:
       7     going around the country promoting -- promoting hoaxes               7 Q. Let me restate that. I may have used names wrong.
       8     about the -- promoting a massive hoax about the                      8 A. Yeah.
       9     presidential election result. I think that injures his               9 Q. What evidence do you have that Lindell knew that
      10     credibility.                                                        10   Oltmann was going to speak at the cyber symposium?
      11 Q. What other statements, what other people were making                 11            MR. CAIN: Object to the form of the
      12     statement as of November 16th about Eric Coomer?                    12   question.
      13 A. As of November 16th?                                                 13 A. That Lindell -- that Lindell knew? I believe there was
      14 Q. Yep, 2020.                                                           14   some kind of list of speakers. Some kind of agenda in
      15 A. I think that's outside the scope of my expert report,                15   advance. Lindell organized the symposium. I would
      16     so I don't -- I'm not going to be able to recall very               16   naturally expect that he'd have some, some basic
      17     much about that.                                                    17   awareness of who was going to participate.
      18 Q. Okay.                                                                18 BY MS. WRIGHT:
      19 A. At the moment.                                                       19 Q. So you're speculating that he knew?
      20 Q. What other statements has Mike made about Eric Coomer                20 A. It's -- it, it seems beyond -- so Mike Lindell, this
      21     besides calling him -- well, first of all, the                      21   event was billed as Mike Lindell's cyber symposium.
      22     statement that he is a criminal, what date did Mike                 22   Like did Mike Lindell not know who the main speakers
      23     first make that statement?                                          23   would be at Mike Lindell's cyber symposium? I suppose
      24 A. Is that in my expert report?                                         24   -- I suppose he might claim that, but it would be
      25 Q. I don't know. You're the one that's talking about him                25   incredible to me if that were true.

                                                                                                                              41 (Pages 158 - 161)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 11
                                    of 21


                                                                       Page 162                                                                    Page 164
       1   Q. You don't know who else helped put together the cyber 1                  Q. What was the plot to rig the election that Oltmann
       2     symposium, I take it?                                    2                  talked about?
       3   A. I couldn't tell you sitting here today.                 3                A. So unlike, unlike Lindell who makes very, very specific
       4   Q. Okay. So whether anybody did, you don't know either? 4                     testable and false claims that are ultimately all part
       5   A. I couldn't tell you sitting here today.                 5                  of this hoax, Oltmann, I think his claims were much
       6   Q. And you couldn't have told me that yesterday, or the    6                  more vague. They were harder to pin down. But Lindell's
       7     day before, or the day before, or the day before that,   7                  claims about the election are -- it does not make
       8     correct?                                                 8                  Oltmann's claims any less false.
       9   A. I might have been able to tell you yesterday, or the    9                Q. So since Lindell makes such specific claims, what did
      10     day before when I reviewed some of the other deposition 10                  he specifically say about how Coomer was a traitor?
      11     transcripts.                                            11                A. I don't recall.
      12   Q. But you can't remember two days later?                 12                Q. Did you ever know?
      13   A. I can't remember today. I'm sorry. I'm just very bad   13                A. I'm sure I've read -- I've read in the complaint and
      14     with names, and there's quite a lot of material about   14                  elsewhere the specific statements. I'd like to review
      15     the organization of the symposium in Lindell's          15                  them before responding to them.
      16     deposition.                                             16                Q. Did Mike Lindell ever say that Eric Coomer actually
      17   Q. What context did Mike call Coomer a traitor?           17                  assured that Trump was not going to win?
      18   A. In the context of Mike, Mike Lindell talking about his 18                A. I don't recall exactly whether Lindell himself repeated
      19     theories of election hacking, and of Dominion somehow 19                    those words, but Lindell did promote through his
      20     being involved in stealing the election.                20                  symposium, and through his FrankSpeech platform and
      21   Q. How close were those to -- did Mike make the statement21                   elsewhere Oltmann making those claims.
      22     that Coomer was a traitor on the same day that Mike     22                Q. Did Mike Lindell ever say that Oltmann participated in
      23     discussed his theories about election hacking?          23                  the plot to rig the election?
      24   A. Mike Lindell was going around the country discussing 24                  A. Oltmann did?
      25     these theories of election hacking every day, or        25                Q. Excuse me. Thank you. Did Mike Lindell ever say that
                                                                       Page 163                                                                    Page 165
       1     virtually every day for a period of months.                           1     Coomer participated in a plot to rig the election?
       2 Q. And you're saying that during those months while he was                2 A. I don't -- I don't know sitting here today. But what he
       3     making statements, that's when he said that Coomer was                3     did do was platform Oltmann who made those same claims.
       4     a traitor?                                                            4     Who made exactly those claims repeatedly.
       5 A. I'm saying the connection is -- in my mind is                          5 Q. How did he -- you're saying because he had a website
       6     undeniable between the notion that like Mike Lindell's                6     where those claims could be posted that he's
       7     entire -- like Mike Lindell's -- Mike Lindell was                     7     responsible for it? Is that your view?
       8     putting tremendous energy and time into promoting this                8 A. He -- not only did he have a website, he brought
       9     hoax about the election having been stolen. About                     9     Oltmann on stage during Mike Lindell's cyber symposium
      10     having PCAP data that proves it, and so on and so                    10     when Mike Lindell attracted a national audience, and
      11     forth. And Mike Lindell -- and Mike Lindell referenced               11     journalists to come and see this purported, but
      12     Coomer as a traitor, as a criminal. This is exactly                  12     fraudulent evidence, that the election had been stolen.
      13     what Oltmann had been -- how Oltmann had been                        13 Q. Was Mike Lindell on the stage with Oltmann came on and
      14     characterizing to that same crowd in the context of the              14     spoke?
      15     same kind of election hacking theories had been                      15 A. It was at his event. It was at Lindell's event. I don't
      16     characterizing Coomer. It's just I -- it's --                        16     know if Lindell was on stage at the time.
      17 Q. What were the election hacking theories that were being               17 Q. Do you know if Mike Lindell even knew Oltmann was going
      18     said about Coomer from people other than Mike Lindell?               18     to speak?
      19 A. Oltmann said that -- Oltmann said that Coomer had                     19 A. I don't know for sure, but Mike Lindell had control
      20     participated in an Antifa conference call, and the lead              20     over the event. He had his name on the event. He was
      21     up to the election. That he had assured people that                  21     paying for the event for a lot of the costs associated
      22     the -- that Trump wasn't going to win. He had made sure              22     with it.
      23     of it. That essentially that it was in the bag. And                  23 Q. And you're saying nobody else had any control over the
      24     Oltmann connected Coomer, or believed that Coomer had                24     event besides Mike Lindell?
      25     somehow participated in a plot to, to rig the election.              25 A. I don't know that it absolves him of responsibility if

                                                                                                                           42 (Pages 162 - 165)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 12
                                    of 21


                                                             Page 186                                                         Page 188
       1   A. I think I had read it relatively recently at the time    1   a fact. And that fact, though, does not make every
       2     actually, yes.                                            2   claim of fraud a plausible one, and certainly doesn't
       3   Q. Okay. Give me another investigation that was done of 3       make Lindell's theory which is based on this data
       4     the 2020 election?                                        4   that's a thinly veiled hoax true.
       5   A. I know there were others that I'm forgetting to list     5 Q. What material have you read from the FrankSpeech
       6     today. I think there were -- there was an assessment by   6   website?
       7     the intelligence community that was done at a certain     7 A. Trying to recall what I've read from the FrankSpeech
       8     point. Also found no, no evidence. What else?             8   website. I've watched Lindell's films that were
       9   Q. What was the name of that assessment?                    9   available there.
      10   A. I don't recall actually. And I should have cited it in  10 Q. When did you first watch those?
      11     here, but I didn't. I'll have to go and find it for      11 A. In preparing this declaration.
      12     you.                                                     12 Q. So before that, you weren't aware of what he had said
      13   Q. Would you agree that that would probably be one of the 13    in the films?
      14     more important investigations to have cited?             14 A. I had read quotes from them and summarizations of them
      15   A. I think the most important ones in my mind actually are 15   in the press prior to that, but I hadn't sat down and
      16     the audits that were performed.                          16   watched the entire films. And plenty of people who
      17   Q. Okay. Well, we'll get there. Which intelligence agency 17    were my colleagues or associates had, but I had not.
      18     did the assessment that you're talking about?            18 Q. Anybody report back to you what they saw when they
      19   A. I don't remember. The one after -- they do these,       19   watched those videos on his website?
      20     these joint agency assessments in various ways. And I 20 A. I think it had been brought to my attention that he had
      21     am not an intelligence community person, so that's not 21     been quoting some of my work, and some other experts'
      22     my world.                                                22   work in the context of making statements that were
      23   Q. Why did they --                                         23   baseless, or were obviously wrong, or were false.
      24   A. I can't give you the alphabet soup.                     24 Q. What other material did you read or watch on the
      25   Q. Why did they need to do an assessment?                  25   FrankSpeech website?

                                                             Page 187                                                         Page 189
       1 A. Because there's an ongoing threat. But merely because 1        A. I don't know what else I watched from the FrankSpeech
       2   there's an ongoing threat from say foreign governments 2          site. Maybe some of Oltmann's material.
       3   and cyberattacks doesn't make every theory a credible    3      Q. What do you believe you've watched in terms of
       4   one, especially a theory like Lindell's that's a thinly  4        Oltmann's material?
       5   veiled hoax.                                             5      A. I'm trying to remember. That's probably in the context
       6 Q. Well, if they did a joint agency assessment, presumably 6        of a different lawsuit that I watched the Oltmann
       7   the theory was credible enough that they were            7        material. I'm not sure that I reviewed it fresh for
       8   investigating to do an investigation, correct?           8        this case.
       9 A. I'm not saying that they investigated Lindell's         9      Q. When did you watch the Oltmann material on the
      10   specific claims or evidence. They investigated the      10        FrankSpeech website?
      11   general question of whether foreign governments had     11      A. It would have been when I was preparing the expert
      12   taken actions against the 2020 presidential election.   12        report that I filed in the -- in Eric Coomer's lawsuit
      13 Q. When were the results of that study?                   13        against Oltmann.
      14 A. I don't recall. I don't recall. I believe early 2021.  14      Q. Did you attend the cyber symposium in August 2021?
      15           VIDEO TECHNICIAN: Excuse me. In five            15      A. I did not.
      16   minutes I have to go off the record to start a new      16      Q. Do you know anybody that did?
      17   video.                                                  17      A. I do. Three people.
      18           MS. WRIGHT: Okay. We'll be at a good point 18           Q. Who?
      19   to break then.                                          19      A. Harri Hursti, Robert Graham, and Doug Jones.
      20 BY MS. WRIGHT:                                            20                MR. CAIN: He's about done on the tape.
      21 Q. And what were the ongoing threats that they were       21                MS. WRIGHT: That's fine.
      22   investigating, the joint agency assessment that was     22                MR. CAIN: Take a break.
      23   done?                                                   23                MS. WRIGHT: That's fine. Yep.
      24 A. Elections like other critical infrastructure face a    24                MR. CAIN: Okay.
      25   threat of cyberattack from foreign nations. And that's  25                VIDEO TECHNICIAN: Off the record 2:48.

                                                                                                           48 (Pages 186 - 189)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 13
                                    of 21


                                                           Page 190                                                                    Page 192
       1           (Break at 2:48 p.m.)                             1 Q. Okay. Well, what are you identifying that you no longer
       2           (Back on the record at 2:56 p.m.)                2   believe to be true?
       3           VIDEO TECHNICIAN: Back on the record 2:56. 3 A. I believe that Georgia may have switched, for instance,
       4 BY MS. WRIGHT:                                             4   to configuring its scanners in a different mode that
       5 Q. Is it fair to say that you don't agree with all of Mr.  5   would reject photocopied ballots, but I'm not sure I
       6   Coomer's sworn testimony in the Curling lawsuit          6   can point to anything else.
       7   regarding the security of Dominion's products?           7 Q. Okay. In section 1.1 of your security analysis, and
       8 A. Yes. I think we had some differences of opinion. The 8      this is on page four, you identified principal
       9   testimony was a long time ago. I'm not sure I recall     9   findings, correct?
      10   the specifics. I'm not sure if I recall the specifics.  10 A. If I may just amend that previous answer, there's been
      11           DEPOSITION EXHIBIT 160                          11   further evidence that's emerged this since report was
      12           Security Analysis of Georgia's ImageCast X      12   written that gives me further reason for doubt about
      13           Ballot of Marking Devices - Curling             13   the physical security of election equipment in Georgia.
      14           2:57 p.m.                                       14 Q. And what is that new evidence that you have?
      15           MS. WRIGHT: We'll mark your expert report       15 A. The emergence of the Coffee County intrusion that
      16   in Curling as Exhibit 160.                              16   President Trump was just indicted in connection with
      17           MR. CAIN: And, Elizabeth, I know, I believe     17   this past -- this very week. That's the thing of main
      18   that there's a protective order in Curling, which is    18   relevance to Georgia.
      19   why portions of this are redacted. And so I would just 19 Q. And you're saying that that Coffee County intrusion
      20   say with respect to that, I don't have the protective   20   makes it more likely that the ImageCast X ballot
      21   order, and I certainly know we don't want to violate    21   marking devices used in Georgia are now compromised, or
      22   the judge's order, so just be mindful of that, Dr.      22   were compromised as of 2021?
      23   Halderman in your testimony, please.                    23 A. No, may be compromised in the future. I have no
      24 A. Thank you.                                             24   evidence that they were ever compromised in the past.
      25           MS. WRIGHT: I am not going to go into the       25 Q. Okay. Because you haven't had an opportunity to

                                                           Page 191                                                                    Page 193
       1   specifics of the technology. I don't believe that in        1     examine any ImageCast X ballot marking devices that
       2   any way that would violate the protective order.            2     were actually used in a Georgia election, correct?
       3           MR. CAIN: Well, I don't think you would. I          3 A. That's one possibility. Another possibility is that
       4   just wanted to make sure.                                   4     they weren't compromised, but those are both components
       5 BY MS. WRIGHT:                                                5     of there being no evidence that I'm aware of.
       6 Q. We've marked as Exhibit 160, which is your July 1st,       6 Q. Okay. Let's talk about your principal findings
       7   2021 security analysis of Georgia's ImageCast X ballot      7     appearing on page four, and it appears that they
       8   marking devices; is that correct?                           8     continue onto page five under section 1.1. Are those,
       9 A. The redacted version of it, yes.                           9     all those principal findings that you make there, all
      10 Q. Okay. And this isn't the redacted version that            10     still accurate today, as far as you know?
      11   originally was released. This is the most recent           11 A. Yes.
      12   redacted version that was released on June 14th, 2023.     12 Q. Okay. And --
      13 A. There's only one version of it that's been released.      13 A. Well, with respect to the version of the ICX that's
      14 Q. Okay. So there's other versions floating around, but      14     used in Georgia, there were other versions, and it's
      15   they weren't released; is that accurate?                   15     used in different states in different configurations.
      16 A. No, there are no other versions that are floating         16 Q. Okay. But this particular ballot marking device was
      17   around, to my knowledge. There are other versions          17     used in all Georgia elections in the 2020 election,
      18   that -- there is an unredacted version that remains        18     correct?
      19   under seal in that case.                                   19 A. Yes, it was.
      20 Q. Okay. Other than the redactions, is this an accurate --   20 Q. In terms of the main conclusions that are found at
      21   is Exhibit 160 an accurate reproduction of your report?    21     section 1.2 starting on page six, and going through the
      22 A. It appears to be.                                         22     top of page eight, are those main conclusions all still
      23 Q. Are you aware of anything that's in Exhibit 160 that's    23     accurate today?
      24   no longer true?                                            24 A. These conclusions are all still accurate today, at
      25 A. Nothing that would meaningfully change my analysis.       25     least with respect to Georgia, though I do fail to see

                                                                                                                49 (Pages 190 - 193)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 14
                                    of 21


                                                                       Page 194                                                                    Page 196
       1     the relevance to Lindell's specific vote rigging                      1     Dominion's ImageCast X ballot marking system that you
       2     theory, which is a hoax, were to the claims that Eric                 2     looked at, correct?
       3     Coomer personally rigged the election.                                3 A. I would say I'm extremely critical of Dominion. There
       4 Q. Objection. Move to strike everything regarding his                     4     are a lot of vulnerabilities in many of their products,
       5     failure to understand the relevance. It's not                         5     but the same is true of other voting system vendors.
       6     responsive.                                                           6     None of that is proof that the 2020 election was
       7            Is it fair to say that in his testimony in                     7     stalled, nor does it make the theories advanced by
       8     the Curling case, Eric Coomer did not identify any of                 8     Lindell of the specific way in which the election he
       9     the vulnerabilities that you identify in this report?                 9     claims was stolen anything less than the hoax than it
      10 A. I would have to review Eric Coomer's testimony in order               10     is.
      11     to say that with certain, but I believe that Dominion                11 Q. Did Dominion oppose you examining the software source
      12     was not aware of the vulnerabilities that are described              12     code for the ImageCast X machines used in Georgia?
      13     in this report, which are ones that as a result of this              13 A. I didn't examine the software source code.
      14     work in Georgia, I disclosed to them at a later date.                14 Q. Right. It wasn't made available to you, correct?
      15 Q. Who's Andrew Appel?                                                   15 A. No, it wasn't made available.
      16 A. Andrew Appel is the Eugene Higgins professor of                       16 Q. And that was because Dominion opposed it, correct?
      17     computer science at Princeton University.                            17 A. I presumed the state opposed it. Perhaps Dominion
      18 Q. He was your mentor at one point; is that correct?                     18     opposed it, too. I don't recall.
      19 A. I did work with him as an undergraduate there as a                    19 Q. You found that the ImageCast X used in Georgia is not
      20     junior in college years ago.                                         20     sufficiently secured against technical compromise to
      21 Q. Would you describe him as a highly regarded                           21     withstand vote altering attacks by bad actors who are
      22     cybersecurity expert?                                                22     likely to attack future elections in Georgia, correct?
      23 A. Yes, I would.                                                         23 A. That's correct. I think there are very serious risks to
      24 Q. And that includes cybersecurity as it relates to voting               24     the way Georgia uses this technology.
      25     machines?                                                            25 Q. You further found that the critical vulnerabilities in

                                                                       Page 195                                                                    Page 197
       1   A. Yes.                                                    1   the ICX, and the wide variety of lesser but still
       2   Q. You're aware that he said of the ImageCast evolution    2   serious security issues, indicate that it was developed
       3     that combining the BMD in scanner is a really bad idea, 3    without sufficient attention to security during design,
       4     because it can cast more votes onto your ballot?         4   software engineering, and testing, correct?
       5   A. Oh, yes, and I would agree with that. But, again, that  5 A. That's absolutely correct, and I think the problems in
       6     there are in some places voting machines that have       6   this -- in the ICX are of such a severe nature that
       7     particular vulnerabilities doesn't make plausible, let   7   Georgia shouldn't use it.
       8     alone possible, let alone true, Mike Lindell's claim     8 Q. And you noted that previous security testing efforts as
       9     that elections across the United States were hacked by   9   part of federal and state certification processes
      10     the Chinese in 2020.                                    10   appear not to have uncovered the critical problems that
      11   Q. But you are aware, because you reported it in one of   11   you found. This suggests that either the ICX
      12     your Tweets, that Eric Coomer on behalf of Dominion in 12    vulnerabilities run deep, or that the earlier testing
      13     a March 18th, 2019 letter to the cochair of the New     13   was superficial. That's an accurate statement,
      14     York State Board of Elections criticized Professor      14   correct?
      15     Appel's opinion by dismissing him as a security         15 A. Yes, not only is that, that -- excuse me. Yes, that is
      16     maximalist, correct?                                    16   an accurate statement, although the fact that there
      17   A. I don't approve of the name calling.                   17   were vulnerabilities in this equipment, once again,
      18   Q. Okay. And, in fact, in response to his letter, you     18   doesn't make Lindell's specific theory plausible, let
      19     Tweeted, this is not how responsible companies respond 19    alone true.
      20     to serious vulnerabilities in their product?            20 Q. But no grand conspiracies would be necessary to commit
      21   A. So Dr. Coomer and I had differences of opinion. He has 21   large scale fraud, but rather only moderate technical
      22     different responsibilities than I do, most certainly.   22   skills of the kind that attackers are likely to target
      23   Q. You've also been critical of Dominion because it       23   Georgia's elections already possess, correct?
      24     rebuffed your repeated efforts to meet with them and    24 A. Yep. There are very serious problems with this
      25     share your findings regarding the vulnerabilities of    25   equipment. That doesn't make every crazy theory about

                                                                                                                            50 (Pages 194 - 197)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 15
                                    of 21


                                                                     Page 198                                                          Page 200
       1   how the 2020 election was stolen plausible or true. And 1                   not the kind of system that election security experts
       2   it certainly doesn't -- and it certainly doesn't         2                  like me would advocate for. The national academies, for
       3   support Lindell's hoax.                                  3                  instance, has called for DRE systems, including DRE
       4 Q. Now, we'll talk about what you've been wanting to talk 4                   with VVPAT systems to be phased out.
       5   about all day. Let's talk about the audits that you      5                Q. And that's because it isn't technically possible in the
       6   talk about in your report. You state in your report      6                  United States to effectively do an audit?
       7   that the strongest affirmative evidence that the         7                A. Yes, on security grounds, and for reasons of
       8   election outcome was not hacked comes from voters'       8                  auditability. But, again, the, the strength of the --
       9   paper ballots which cannot be retroactively changed by 9                    there are two -- there are two fundamental issues about
      10   computers.                                              10                  that. The one, the other five of the six closest states
      11             MR. CAIN: Object to form.                     11                  did have paper trails, or paper ballots, excuse me, of
      12 A. Could you just point me to it so I can have it open in 12                  all votes, were primarily paper ballot election
      13   front of me? I'm glad it takes you a minute to find     13                  systems.
      14   it, too.                                                14                          And, two, Lindell's theory calls for votes
      15 BY MS. WRIGHT:                                            15                  to have been stolen in essentially all jurisdictions.
      16 Q. I probably should have made a note of it.              16                  So evidence that comes from these five of the six is
      17 A. We have paragraph numbers in here and everything, and17                    itself enough to disprove that theory.
      18   it's still...                                           18                Q. If Mr. Lindell is claiming that votes were stolen in
      19 Q. Oh, well, okay.                                        19                  all jurisdictions, and nobody checked the paper in
      20 A. Oh, here, here.                                        20                  those jurisdictions, then how do we know that votes
      21 Q. Paragraph 23.                                          21                  weren't stolen in the other jurisdictions?
      22 A. Thank you. Thank you.                                  22                A. Well, the statement that votes were stolen in all
      23 Q. Under the heading postelection audits provide strong 23                    jurisdictions is false, if we know votes weren't stolen
      24   evidence against hacking.                               24                  in any jurisdictions. That's just prepositional logic.
      25 A. I appreciate it.                                       25                Q. Okay. But we cannot rule out, since it wasn't tested,
                                                                     Page 199                                                          Page 201
       1 Q. And you see where it says there the strongest                        1     that votes weren't stolen, or we can't rule out that
       2     affirmative evidence come from voters' paper ballots                2     votes were stolen in other jurisdictions where, where
       3     which cannot be retroactively changed by computers?                 3     audits were done or not done, correct? Let me ask it
       4 A. Yes.                                                                 4     again. If an audit wasn't done in another
       5 Q. Okay. You go on to say that five of the six states that              5     jurisdiction, then we can't rule out that votes were
       6     Donald Trump most narrowly lost used paper ballots                  6     stolen?
       7     statewide. What did the sixth state use?                            7   A. So the -- a theory that the 2020 election was stolen by
       8 A. I'm trying to remember. Which was the sixth state?                   8     hacking, in order for that to happen, in order for that
       9     That must have been --                                              9     to have any kind of salience, you have to ask where
      10 Q. How about Nevada?                                                   10     would an attacker have had to steal votes in order to
      11 A. Yes, you must be right, Nevada, which in parts of the               11     make a difference to the presidential outcome, right?
      12     state in 2020 was still using a DRE with VVPAT system.             12     And any plausible attacker who's going to do this is
      13             MR. CAIN: You want to spell that for her?                  13     going to focus on the most narrowly contested states.
      14 A. DRE with V-V-P-A-T, voter verified or verifiable paper              14     Because any state that is not narrowly contested,
      15     audit trail.                                                       15     right, either is going to have such an implausible
      16 BY MS. WRIGHT:                                                         16     outcome as a result of hacking, or the amount of
      17 Q. What is the significance of Nevada using a DRE VVPAT?               17     hacking you do isn't going to make any difference to
      18 A. That's something other than a system that is a paper                18     its electoral votes.
      19     ballot with all voters. Instead of a paper ballot, it              19   Q. Philip Stark didn't agree with you on that, did he?
      20     maintains a continuous roll cash register tape                     20   A. I don't know.
      21     essentially that is supposed to reflect the voter's                21   Q. In 2016 when you were trying to decide where to do
      22     choices.                                                           22     audits, and request audits, that's exactly what you
      23 Q. So one of the states that Donald Trump most narrowly                23     proposed was the closest states, because that would be
      24     lost couldn't even be audited correctly, correct?                  24     where you'd have to flip the fewest votes. Philip
      25 A. So it's not the kind of system that -- it's certainly               25     Stark disagreed with you, didn't he?

                                                                                                                    51 (Pages 198 - 201)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 16
                                    of 21


                                                                       Page 202                                                                    Page 204
       1 A. I don't recall that Philip Stark disagreed with me.                    1     was too small. That some counties didn't participate.
       2 Q. Okay. So the audits that you are referring to are the                  2 Q. So it also was not a truly random sample, correct?
       3     five -- are five -- from the five, not including the                  3 A. Well, but let me explain. So in order for that to have
       4     one you didn't do, Nevada, are Georgia, Arizona,                      4     been subverted by fraud, it would have to be the case
       5     Wisconsin, Pennsylvania and Michigan?                                 5     that the fraud was concentrated in those counties that
       6 A. Yes. Those five of the six closest states conducted                    6     happened not to participate, which is different from
       7     some form of audit of their paper trial. They had paper               7     Lindell's theory which says that the fraud happened
       8     trails, that is, paper ballots, and they conducted some               8     everywhere.
       9     form of audit.                                                        9 Q. And then the sample size, besides the fact that it
      10 Q. Okay.                                                                 10     wasn't a truly random sample, the sample size that was
      11 A. And in none of those audits did the audit find evidence               11     used was too small, correct?
      12     of fraud.                                                            12 A. I believe it might have been too small. I don't recall
      13 Q. Well, let's talk about what you mean by some form of                  13     the -- I don't want to say that off the top of my head.
      14     audit. First of all, which of the five states did a                  14 Q. What calculation was done to determine how large the
      15     risk-limiting audit?                                                 15     random, or supposedly random, sample should have been?
      16 A. Yeah, that's going to depend on exactly how you want to               16 A. So in Pennsylvania, I'm trying to remember. I think
      17     define a risk-limiting audit. Of these states, several               17     Pennsylvania did the audit in partnership with
      18     of them --                                                           18     VotingWorks, which where they used software that is
      19 Q. I'm talking about the kind of rigorous, and that's your               19     used to determine that sample size. Again, the --
      20     word, risk-limiting audit that you have said are                     20 Q. Are you critical of Pennsylvania for farming out the
      21     necessary to be assured that a cyberattack did not                   21     audit to VotingWorks?
      22     happen?                                                              22            MR. CAIN: Did you finish your response?
      23 A. So as I write in the report, none of these states                     23 A. I was -- I was going to say that I think that the
      24     performed an audit that fully meets the standards that               24     sample size was -- I think that the sample size was
      25     I or other researchers would ask for. That doesn't                   25     determined by the Arlo software, excuse me, by using

                                                                       Page 203                                                                    Page 205
       1     mean that these audits have no evidentiary value,        1                  the Arlo software. But the main -- the main
       2     however. Because the question you have to ask is attack 2                   limitation, again, is the counties that just didn't
       3     that changed the presidential outcome, what is the       3                  participate at all, which creates an important gap
       4     likelihood that it would evade all of these audits       4                  you'd want to fill in in future public policy to make
       5     successfully. And the probability, you can do even back 5                   sure that everything is being appropriately audited.
       6     of the envelope math, and show that the probability of   6                  But still even at it's conducted here, this is enough
       7     that is going to be quite low.                           7                  to gain strong evidence against the kind of theory
       8   Q. But not impossible?                                     8                  Lindell posits that somehow every single county was
       9   A. Well, of course not impossible, but it's something      9                  hacked.
      10     that, again, you know, speaks to the extraordinary      10                Q. Was a compliance audit done in Pennsylvania?
      11     nature of the claim that's being made. And it should be 11                A. In Pennsylvania, I don't recall. But, again, we're not
      12     a source of additional assurance to any voter who is    12                  talking about an attack that's targeting the physical
      13     assessing this evidence rationally.                     13                  integrity of those paper ballots. Lindell's theory is
      14   Q. Now, let's talk about Pennsylvania first.              14                  about a cyberattack. Someone somehow came in over the
      15   A. I should say what is impossible is the theory that     15                  internet, right? And a compliance audit that's going
      16     Lindell himself posits which involves a national scale  16                  to be doing things like checking the chain of custody
      17     attack over the internet affecting votes in every       17                  is trying to assure the physical integrity of the
      18     jurisdiction. That is impossible, and his data is a     18                  ballots, not whether the county process was subverted.
      19     hoax.                                                   19                Q. Correct. And in terms of the physical integrity of the
      20   Q. Objection. Move to strike all the evidence when he     20                  ballots, Philadelphia, and I believe, what, three, four
      21     states what is impossible and everything after that.    21                  other counties used ballot marking device machines,
      22             Let's talk about the Pennsylvania audit.        22                  correct?
      23     First of all, it wasn't a true risk-limiting audit, was 23                A. Several Pennsylvania counties. I'm not sure. I think it
      24     it?                                                     24                  might be more than three or four.
      25   A. The major gap in the Pennsylvania audit was the scale 25                 Q. Okay. And including the company that encompasses, or

                                                                                                                           52 (Pages 202 - 205)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 17
                                    of 21


                                                                      Page 222                                                         Page 224
       1     software, correct?                                                   1     skeptical about his data if I were going around
       2 A. Oh, yes. Now, logic and accuracy testing provides                     2     promoting it.
       3     little, if any, benefit against malicious software.                  3   Q. Do you know what, if any, investigation Mike Lindell
       4     What it can do is protect against certain kinds of                   4     did into Dennis Montgomery?
       5     misconfigurations. They've done well. I have worked now              5   A. I do not as I sit here today. But the question that I
       6     posted very recently about how to do logic and accuracy              6     would pose would be what investigation did he do into
       7     testing that can detect a broader range of                           7     the data, which even a brief inspection by someone who
       8     misconfigurations.                                                   8     understood computer security or election systems would
       9 Q. How many voting machine jurisdictions are there across                9     have been enough to show it's not going to hold water
      10     or, excuse me, voting jurisdictions are there across                10     and is likely a hoax. And, in fact, I conclude with no
      11     the United States?                                                  11     doubt whatsoever that it's a hoax.
      12 A. That's a good question, and it really depends how you                12   Q. Are you aware of Mike -- whether Mike Lindell had
      13     want to count jurisdictions. The issue there, the                   13     security, computer security experts look at this data?
      14     reason that it's difficult is that if you're counting               14   A. If he had computer security experts look at this data,
      15     on the level of precincts, or ballot styles, if you're              15     he must have picked people who he knew would tell him
      16     counting on polling places. If you're counting just                 16     what he wanted to hear.
      17     the governments that are administering it, which could              17   Q. So you're saying that he was seeking to promote the
      18     be township, could be county, could be city, could be               18     fraud by getting an answer he wanted to hear, rather
      19     village. And then you have the states and federal                   19     than somebody telling him something that he believed?
      20     jurisdictions. So it's actually a pretty complicated                20   A. I think if he wanted someone who was going to actually
      21     question. But anywhere from if you want to count                    21     examine this data critically, and give him an accurate
      22     counties, we're talking in the order of 1,000. If you               22     answer, he could have found some easily just by looking
      23     want to count polling places, order 10,000. If you                  23     around to almost anybody with computer forensics
      24     want to count precincts, order 100,000. It's within a               24     expertise with election security expertise. It's
      25     factor of 10.                                                       25     transparently fraudulent.
                                                                      Page 223                                                         Page 225
       1   Q. Okay.                                                   1               Q. It's not true that the decentralized nature of the U.S.
       2   A. And, of course, there's 50 states, plus territories in  2                 voting system, and the fact that voting machines are
       3     D.C.                                                     3                 not directly connected to the internet, make changing a
       4   Q. When did you first learn about Dennis Montgomery?       4                 state or national election impossible, correct?
       5   A. When did I first learn about Dennis Montgomery? I'm 5                   A. No, it doesn't make it impossible necessarily. But what
       6     trying to think. I believe that I read about him prior   6                 it does do it makes it so the bar to committing an
       7     to the 2020 election in connection with some of the      7                 attack is higher than it otherwise would be if there
       8     past reported fraud that he had been involved in         8                 was a central point of attack, and it makes it
       9     involving the federal government.                        9                 virtually impossible for an attack like the one that
      10   Q. Would you agree the federal government has never       10                 Lindell posits to occur, one that's going to affect
      11     acknowledged that Dennis Montgomery engaged in any 11                      jurisdictions across every state.
      12     fraud with respect to his work for them?                12               Q. If someone was go to pull it off, it would be someone
      13   A. I don't know.                                          13                 like China or Russia, correct?
      14   Q. Are you aware of the federal government ever saying 14                  A. Nobody would pull it off. No one would even attempt
      15     that Dennis Montgomery has committed fraud in           15                 that. It would be ludicrous, right? It would be
      16     connection with the work he's done on their behalf?     16                 tremendously wasteful resources, it would be so likely
      17   A. I'm not sure why I would be necessarily aware of that, 17                 to get caught. And it probably would be -- and it would
      18     but not as I sit here today.                            18                 be actually impossible to do the way that Lindell
      19   Q. Wouldn't that be important for you to know in          19                 posited for all the reasons that I state here. That
      20     formulating whether it's true that Dennis Montgomery 20                    the machines are not connected to the internet during
      21     was someone that participated in high profile hoaxes    21                 the relevant time period. For other reasons, too.
      22     and fraud?                                              22               Q. The reason that the decentralized nature of the U.S.
      23   A. I think he has a reported reputation of doing such,    23                 voting system, and the fact that the machines are not
      24     which would be enough to put any -- which would it be 24                   directly connected to the internet, make changing a
      25     enough to put me on notice for sure that I better be    25                 state or national election possible is because, among

                                                                                                                     57 (Pages 222 - 225)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 18
                                    of 21


                                                          Page 226                                                         Page 228
       1     other things, some election functions are actually       1     voting machines with vote stealing malware that can
       2     quite centralized, correct?                              2     silently alter the electronic records of every vote.
       3   A. Some functions are more centralized than others.        3   A. As I've just explained to you, and as I say in the
       4     Preelection programming of machines is quite             4     report, while that is true that there are risks that
       5     centralized. But that takes place weeks before, or       5     attackers, especially sophisticated ones, could spread
       6     months before the hack that Lindell purports occurred.   6     malicious software into a voting system, that would
       7     What he's proposing is a fraud. It's a hoax.             7     have to take place before the voting machines were
       8   Q. A small number of election technology vendors and       8     programmed for the election which takes place weeks or
       9     support contractors service a system used by many local 9      months in advance. It's not possible for that to be
      10     governments, correct?                                   10     exploited under Lindell's theory that hackers came in
      11   A. Indeed. Especially ES&S, and some of the other         11     over the internet through China in the days surrounding
      12     central -- some of the other vendors do programming for 12     the election, and changed votes all across the country.
      13     a large number of jurisdictions. I think these          13     That's a hoax.
      14     represent a real risk that needs to be better secured   14   Q. Move to strike everything after the words while that is
      15     against. That's why we need wider use of risk-limiting 15      true as being nonresponsive.
      16     audits, handwork, paper ballots and so forth. At the    16             So the fact that voting machines aren't
      17     same time, Lindell's theory is not that that was        17     directly connected to the internet does not make them
      18     exploited. Lindell's theory is that attackers came in   18     secure, correct?
      19     from China, and he's been very clear about this, and    19   A. Does not make them secure, could you please --
      20     directly targeted election jurisdictions across the     20   Q. Sure. The fact that voting machines aren't directly
      21     country. That is not possible to have occurred around   21     connect to the internet doesn't ensure their security,
      22     election day the way that he maintains. It's a hoax.    22     correct?
      23   Q. Objection. Move to strike everything after the         23   A. Oh, no, that's not enough on its own. It's best
      24     acknowledgement that a small number of election         24     practice not to connect them to the internet, but that
      25     technology vendors and support contractors service a    25     certainly doesn't make them completely secure. But
                                                          Page 227                                                         Page 229
       1     system used by many local governments.                  1   also, the fact that there are other ways of potentially
       2             You'd agree also that attackers could target    2   threatening the integrity of elections isn't proof of
       3     one or few of these companies and spread malicious code 3   any specific theory that the 2020 election was hacked.
       4     to the election equipment that serves millions of       4   And it's certainly not a basis for Lindell's claims
       5     voters, correct?                                        5   which are a hoax.
       6   A. Such an attack would -- it's certainly a threat, but   6 Q. Objection. Move to strike as nonresponsive everything
       7     it's one that would have to occur months or years       7   starting with the words there are other ways.
       8     before an election. And, again, it's not a possibility  8           You'd agree that the election system
       9     that lends any credence at all to Lindell's specific    9   industry has little to no oversight, transparency or
      10     theory, which is one that people came in the days      10   regulation, and what little there is is voluntary, lax
      11     surrounding the 2020 election, came in over the        11   and woefully outdated. The federal agency tasked with
      12     internet through China, hacked into individual         12   voting system testing and certification has been
      13     jurisdictions, and changed votes across the country.   13   criticized extensively for its excess dysfunction and
      14     That's just not possible. It's a hoax.                 14   lack of security expertise.
      15   Q. Objection. Move to strike everything after the word   15 A. I think things are slowly getting better in terms of
      16     threat.                                                16   regulation of the election security or the election
      17             Doesn't matter whether voting machines are     17   technology industry. But for the most part, I do think
      18     connected to the internet, for attackers to infect     18   the testing is still woefully lacks. That the
      19     voting machines with vote stealing malware that can    19   standards are, are not what they need to be. The
      20     silently alter the election records of every vote,     20   standards have very recently been revised in a way that
      21     correct?                                               21   may have some very positive impacts over time. But in
      22   A. Excuse me. Just one second. I'm going to -- could you 22   general those are, I think, valid criticisms of the way
      23     repeat that for me, please.                            23   that we produce election technology in this country.
      24   Q. Sure. It doesn't matter whether voting machines are   24   And they apply to every major vendor. But none of that,
      25     connected to the internet for attackers to infect      25   of course, proves that the 2020 election was stolen in

                                                                                                         58 (Pages 226 - 229)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 19
                                    of 21


                                                                          Page 234                                                                  Page 236
       1        own symposium told him the truth. And Lindell has                     1     FrankSpeech that exists primarily, or is known
       2        continued to promote these false claims about the                     2     primarily for promoting conspiracy theories like that
       3        election, and about Dr. Coomer. And I just think it's                 3     that he's been promoting. That Lindell himself has
       4        also just inherently implausible that any of this stuff               4     been promoting.
       5        is true. He's got this data from a person with a                      5 Q. How does that further his business interests?
       6        history of committing fraud as reported many times in                 6 A. I believe that Mr. Lindell has a financial interest in
       7        the press.                                                            7     FrankSpeech.
       8 Q. Many times?                                                               8 Q. Is it your understanding FrankSpeech makes money?
       9 A. Yes. And if you go and look, yes, many times in the                       9 A. I don't know if it makes money today. The goal is
      10        press. And if you go and read the -- if you go and                   10     presumably to make money.
      11        examine the data, the data is just transparently                     11 Q. You're just guessing as to that, correct?
      12        fraudulent.                                                          12 A. That's the reason most people start businesses.
      13 Q. Please identify for me all times that the press has                      13 Q. Really? Did you start the businesses you started to
      14        reported that Dennis Montgomery has engaged in fraud in              14     make money?
      15        the past prior to Mike Lindell starting to work with                 15 A. One of the two businesses that I founded I started to
      16        Dennis Montgomery?                                                   16     make money. The other is a not for profit.
      17 A. You would have to Google it. I can Google it for you                     17 Q. So people -- some businesses that people start are not
      18        when I get home.                                                     18     for profit?
      19 Q. Well, you just said there's many. So give me some of                     19 A. I don't --
      20        the examples.                                                        20 Q. Correct?
      21 A. I know it has now been reported many times.                              21 A. I don't believe that FrankSpeech is a not for profit.
      22 Q. Okay. But before Mike Lindell started working with him,                  22 Q. You don't know what his intentions are regarding making
      23        how many times had it been reported?                                 23     a profit from FrankSpeech, do you? You're just
      24 A. I don't recall how many times it had been reported.                      24     speculating, correct?
      25 Q. More than one?                                                           25 A. I think one can make a strong inference.

                                                                          Page 235                                                                  Page 237
       1   A.  I believe more than one.                               1                   Q. From what?
       2   Q.  More than two?                                         2                   A. From all of these factors that I just -- I've just
       3   A.  I believe more than two.                               3                     recited.
       4   Q.  How about three? Can you go that far?                  4                   Q. You haven't --
       5   A.  I think I can go more than three.                      5                   A. I'm sorry.
       6   Q.  Really? Okay. What's the basis for thinking that it    6                   Q. You haven't recited any factors other than you're
       7     could be three?                                          7                     speculating. What are the specific facts on what you
       8   A. The basis is that I Googled this at the time I was      8                     conclude that Mike Lindell is promoting his business
       9     preparing my expert report, and I looked at the          9                     interests through FrankSpeech?
      10     articles about Dennis Montgomery from before the time 10                     A. Is promoting business interests through, through --
      11     of Lindell's association with him. But I don't recall   11                   Q. FrankSpeech.
      12     today, months later.                                    12                   A. I think he has a business interest in the success of
      13   Q. Did you look into the federal government asserting     13                     FrankSpeech as a platform. I think FrankSpeech is --
      14     State Secrets Act Protection for much of Montgomery's 14                       furthermore has engaged in promotions for his other
      15     work with the United States?                            15                     business, MyPillow, and his other -- and his Lindell TV
      16   A. No, I didn't, because I don't think it's relevant. The 16                     channel. Those I, I think from those facts alone it's
      17     data that Montgomery produced is obviously fraudulent. 17                      apparent to me that Mike Lindell has a business
      18     It's a hoax. It's a lie. It's a deception. It has       18                     interest in, in promoting this, this, this fraudulent
      19     nothing to do with the 2020 -- what actually happened 19                       theory he has about the 2020 election. It was the focus
      20     during the 2020 election.                               20                     of his symposium.
      21   Q. What business interests does -- does the kind of       21                   Q. Other than your speculation that he hopes to some day
      22     supposed lies that you're claiming that Lindell's       22                     make money from FrankSpeech, what other business
      23     promoting, what kind of business interest does that     23                     interests is Mr. Lindell attempting to promote with
      24     help?                                                   24                     what you call his hoax?
      25   A. Well, I understand that he's created a platform called 25                   A. I understand that he's been using it to promote his

                                                                                                                             60 (Pages 234 - 237)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 20
                                    of 21


                                                                       Page 238                                                                   Page 240
       1     company, MyPillow, and his other company. That he's at                1 A. Well, largely as a result of Mike Lindell spreading
       2     the cyber symposium and elsewhere giving promo codes                  2     this hoax.
       3     for MyPillow, while making fraudulent claims about the                3 Q. What's the reach of Mike Lindell's statements? How
       4     2020 election. Those are -- those are additional                      4     many people heard it?
       5     business interests that he certainly appears to me to                 5 A. Frankly, it was so widely reported, I'd expect that
       6     have in all of this mess.                                             6     much of the country heard what Mike Lindell was saying
       7 Q. And do you have any evidence that Mike Lindell believes                7     around the cyber symposium. It was covered by numerous
       8     that promoting promo codes on FrankSpeech, or anywhere                8     mainstream media networks. It was covered in print,
       9     else, has -- well, now let me start over.                             9     right? It was broadcast on Lindell's own services.
      10            Do you have any evidence that shows that                      10 Q. And they were all critical of it, correct? And as you
      11     Mike Lindell believes that promoting MyPillow on                     11     pointed out, they've all debunked it? So nobody's
      12     FrankSpeech has benefit to MyPillow?                                 12     believing Mike Lindell, according to you?
      13 A. No, but why else would he do it?                                      13 A. Nobody should believe Mike Lindell, according to me,
      14 Q. I don't know. Did you -- have you studied whether Mr.                 14     but I'm afraid a lot of people do believe Mike Lindell
      15     Lindell has actually lost money as a result of his                   15     because Mike Lindell has told them a lie.
      16     efforts to promote cybersecurity?                                    16 Q. And President Trump has even a bigger follower than --
      17 A. I haven't. Maybe it's a loss leader for him. He's                     17     following than Mike Lindell. And he has been spreading
      18     hoping to make more in the future, but that would be --              18     this what you call hoax for much longer to many more
      19     that would be speculation.                                           19     people, correct?
      20 Q. What facts do you have to support your statement in                   20 A. Well, that would seem to add further credence to it
      21     paragraph 10 of your declaration that Mike Lindell                   21     being in Mike Lindell's political interest that he
      22     portrayed Eric Coomer as someone who manipulated enough              22     hopes ingratiate himself to former President Trump.
      23     votes to deny a victory to Donald Trump in an attempt                23 Q. What's the value of that?
      24     to promote his own political interests, regardless of                24 A. To join President Trump in promoting this theory.
      25     the truth?                                                           25 Q. What's the value of ingratiating himself to President

                                                                       Page 239                                                                   Page 241
       1 A. Well, again, regardless of the truth, because despite                  1     Trump?
       2     all of the red flags and the people who have debunked                 2 A. He may well become president again.
       3     the core of his theory, and the fact that even a                      3 Q. Can you --
       4     cursory examination shows his data to be a hoax, the                  4            MR. CAIN: If you don't mind, I'm sorry,
       5     political interests, I think, comes from his apparent                 5     ma'am. Do ya'll mind if take a break? We've been
       6     desire to promote -- and to promote President Trump,                  6     going about an hour and a half.
       7     and to promote Trump's theories that he's expressed                   7            MS. WRIGHT: I think we getting fairly close
       8     about the 2020 election result being illegitimate.                    8     to being done. Would you rather get done, or you want
       9 Q. How does that benefit Mike's political interests?                      9     to take a break?
      10 A. I know than Mike is, like many people, is a supporter                 10            MR. CAIN: Both.
      11     of Donald Trump.                                                     11 A. Could I do a quick bio break?
      12 Q. And this --                                                           12            MS. WRIGHT: Okay.
      13 A. And an associate of his.                                              13            MR. CAIN: Let's do -- let's do a quicky.
      14 Q. How has that promoted his business interests since                    14            VIDEO TECHNICIAN: Off the record 4:14.
      15     Trump will not be restored to office, or his clinical                15            (Break at 4:14 p.m.)
      16     interests if Trump can't be restored to office?                      16            (Back on the record at 4:21 p.m.)
      17 A. Well, former President Trump seems to be continuing his               17            VIDEO TECHNICIAN: Back on the record 4:21.
      18     claims that the 2020 election was stolen. And even if                18 BY MS. WRIGHT:
      19     he won't be restored to office, it seems to be in                    19 Q. Have you been compensated for the expert report you
      20     his -- he seems to think, anyway, that it's in his                   20     prepared in Mr. Coomer's case against Mr. Lindell?
      21     political interests to continue portraying the 2020                  21 A. Yes, I am.
      22     election as a fraud.                                                 22 Q. How are you being compensated?
      23 Q. And the reason he believes that's in his political                    23 A. I'm being paid my customary hourly rate at $750 an hour
      24     interest is because there's so many people that believe              24     for my work in this case.
      25     it, correct?                                                         25 Q. How many hours do you have into this case?

                                                                                                                           61 (Pages 238 - 241)
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Case No. 1:22-cv-01129-NYW-SKC Document 188-3 filed 09/19/23 USDC Colorado pg 21
                                    of 21



                                                                    Page 257

   1                          CERTIFICATE OF NOTARY

   2      STATE OF MICHIGAN    )

   3                           ) SS

   4      COUNTY OF WAYNE      )

   5

   6                           I, JOANNE MARIE BUGG, certify that this

   7             deposition was taken before me on the date hereinbefore

   8             set forth; that the foregoing questions and answers

   9             were reported by me stenographically and reduced to

  10             computer transcription; that this is a true, full and

  11             correct transcript of my stenographic notes so taken;

  12             and that I am not related to, nor of counsel to, either

  13             party nor interested in the event of this cause.

  14

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  20                                  <%26742,Signature%>

  21                                  JOANNE MARIE BUGG, CSR-2592

  22                                  Notary Public

  23                                  Wayne County, Michigan

  24                                  My Commission expires: 2-26-2025

  25

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